        Case 1:21-cr-00670-CJN Document 106-6 Filed 07/11/22 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
                                               :       Case No: 21-cr-670
               v.                              :
                                               :
STEPHEN K. BANNON,                             :
                                               :
                       Defendant.              :

                               GOVERNMENT’S EXHIBIT LIST

        The Government’s exhibit list for its case-in-chief is below. The Government respectfully

reserves the right to offer additional exhibits as necessary based on additional pretrial orders, cross-

examination of its witnesses at trial, or the Defendant’s case-in-chief.

 Exhibit     Description                 Basis for Admissibility             Defense Objection
  No.
   1     House Resolution 503         Public record describing the      No objection.
                                      scope of the Committee’s
                                      investigation

    2       September 23, 2021        Summons provided to the           Objection to the cover
            Subpoena to Stephen       Defendant                         letter only – hearsay [Fed.
            Bannon                                                      R. Evid. 802].

    3       September 23 and 24,      Statement of party                No objection.
            2021 Emails re            opponent’s agent accepting
            Service of Subpoena       service of subpoena

    4       October 7, 2021 Letter    Statement of party                No objection.
            from Costello to          opponent’s agent to
            Chairman Thompson         Committee refusing
            & Cover Email             compliance

    5       October 8, 2021 Letter Statement made to                    Objection – hearsay [Fed.
            from Chairman          Defendant’s agent rejecting          R. Evid. 802] and hearsay
            Thompson to Costello noncompliance and directing            within hearsay [Fed. R.
                                   Defendant to comply                  Evid. 805].

    6       October 13, 2021          Statement of party                No objection.
            Letter from Costello      opponent’s agent to
      Case 1:21-cr-00670-CJN Document 106-6 Filed 07/11/22 Page 2 of 3




        to Chairman            Committee refusing
        Thompson               compliance

 7      October 15, 2021       Statement made to               Objection – hearsay [Fed.
        Letter from Chairman   Defendant’s agent rejecting     R. Evid. 802] and hearsay
        Thompson to Costello   noncompliance and directing     within hearsay [Fed. R.
                               Defendant to comply             Evid. 805].

 8      October 18, 2021       Statement of party              No objection.
        Letter from Costello   opponent’s agent to
        to Chairman            Committee
        Thompson & Cover
        Email

 9      October 19, 2021       Statements made to              Objection – hearsay [Fed.
        Letters from           Defendant’s agent rejecting     R. Evid. 802] and hearsay
        Chairman Thompson      noncompliance and directing     within hearsay [Fed. R.
        to Costello            Defendant to comply             Evid. 805].

10      September 24, 2021     Statement of party opponent     Objection – hearsay [Fed.
        Post on Stephen        about subpoena                  R. Evid. 802].
        Bannon’s Gettr
        Account

11A     October 8, 2021 Post   Statement of party opponent     Objection – hearsay [Fed.
        on Stephen Bannon’s    about subpoena compliance       R. Evid. 802].
        Gettr Account

11B     DailyMail Article      Attachment to October 8,        Objection – hearsay [Fed.
        Linked in October 8,   2021, statement of party        R. Evid. 802].
        2021 Post on Stephen   opponent about subpoena
        Bannon’s Gettr         compliance
        Account

12A     Toll records for       Certified business records of   Objection – Fed. R. Evid.
        Defendant’s T-Mobile   Defendant’s call activity       401 & 403
        number ending in       during relevant period
        7048 (September 22
        to October 21, 2021)

12B     Toll records for       Certified business records of   Objection – Fed. R. Evid.
        Defendant’s T-Mobile   Defendant’s call activity       401 & 403
        number ending in       during relevant period
        1293 (September 22
        to October 19, 2021)



                                          2
      Case 1:21-cr-00670-CJN Document 106-6 Filed 07/11/22 Page 3 of 3




12C     Subscriber records for   Certified business records    Objection – Fed. R. Evid.
        Defendant’s T-Mobile     showing subscriber            401 & 403.
        numbers ending in        information for numbers
        1293 and 7048            used by Defendant

12D     Certification of         Certification of business     Objection – Fed. R. Evid.
        Business Records for     records                       401 & 403.
        Defendant’s T-Mobile
        numbers ending in
        1293 and 7048

13      David Schoen             Statement of party            Objection – [Fed. R. Evid.
        statements at March      opponent’s agent about        401 & 403]; rule of
        16, 2022, Hearing, Tr.   Defendant’s lack of mistake   completeness [Fed. R.
        at 59:11-14; 60:10-13    in failing to comply with     Evid. 106].
                                 subpoena




                                            3
